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EXHIBIT “A”
                     Case 1:22-cv-00418-WMR Document 1-1 Filed 02/02/22 Page 2 of 13




                                   IN THE STATE COURT OF DEKALB COUNTY
                                             STATE OF GEORGIA

             LIZETTE BELLARD,                             )
                                                          )
                            Plaintiff,                    )
                                                          )        JURY TRIAL DEMANDED
             v.                                           )
                                                          )
             FAMILY DOLLAR STORES                         )        CIVIL ACTION FILE
             OF GEORGIA, LLC, AND                         )
             JOHN/JANE DOE                                )           21A05843
                                                          )        NO.:
                                    Defendants.           )
                                                          )

                                             COMPLAINT FOR DAMAGES

                    COMES NOW Plaintiff Lizette Bellard, by and through undersigned counsel, and files

             this Complaint for Damages against Defendants Family Dollar Stores of Georgia, Inc.

             (hereinafter “Family Dollar”) and John/Jane Doe and respectfully shows the Court as follows:

                                         PARTIES, JURISDICTION and VENUE

                                                              1.

                    Plaintiff Lizette Bellard is a resident of DeKalb County, Georgia and is subject to the

             jurisdiction and venue of this Court.

                                                              2.

                    Defendant Family Dollar is a corporation authorized to do business in the State of

             Georgia and is subject to the jurisdiction of this Court. Defendant’s registered agent, Corporate

             Service Company, is located at 2 Sun Court, Suite 400, Peachtree Corners, Georgia 30092, and

             may be served with a copy of the Summons and Complaint at this address.

                                                              3.

                    Venue as to Defendant Family Dollar is proper in DeKalb County, Georgia as the




                                                                                                                  STATE COURT OF
                                                                                                              DEKALB COUNTY, GA.
                                                                                                                 12/27/2021 5:43 PM
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             incident at issue occurred in DeKalb County at Defendant Family Dollar’s store #3290 located at

             5404 Covington Highway, Suite B, Decatur, Georgia, 30035.

                                                                      4.

                     Defendant John/Jane Doe is an unidentified employee who, at all times relevant to this

             action, were acting within the scope of employment with or under the agency of Defendant

             Family Dollar on Family Dollar’s premises where Plaintiff sustained injuries which form the

             basis of this action and whose acts and/or omissions contributed to Plaintiff’s damages.

             Defendant John/Jane Doe is subject to the jurisdiction and venue of this Court. Service will be

             made upon said person as his/her identity is made known through discovery.

                                                                 FACTS

                                                                      5.

                     On September 21, 2019, Defendant Family Dollar owned and/or was in control of the

             premises located at 5404 Covington Highway, Suite B, Decatur, Georgia, 30035 (hereinafter

             “#3290 store”) and as such possessed said property with the intent to occupy and control it and

             held it open to the public for business purposes.

                                                                      6.

                     On the aforesaid date, Plaintiff was a business invitee at the Family Dollar #3290 store

             and assumed the legal status of an invitee as the term is defined under Georgia Law upon

             entering said premises. 1


             1
               Due to the COVID-19 pandemic, the Georgia Supreme Court issued a series of Orders declaring a state of “judicial
             emergency” and suspended, tolled, extended, and otherwise granted relief from any deadlines or other time
             schedules applicable to all civil and criminal cases, including but not limited to statute of limitations. See The
             Georgia Supreme Court’s March 14, 2020 Order. (https://www.gasupreme.us/wp-content/uploads/2020/03/CJ-
             Melton-amended-Statewide-Jud-Emergency-order.pdf) Per the Court’s July 10, 2020 Order, “the 122 days between
             March 14 and July 14, 2020, or any portion of that period in which a statute of limitation would have run, shall be
             excluded from the calculation of that statute of limitation.” See July 10, 2020 Fourth Order, pg. 5, par. (10).
             (https://www.gasupreme.us/wp-content/uploads/2020/07/4th-SJEO-FINAL.pdf) Accordingly, the applicable statute
             of limitations for Plaintiff’s claims expires on January 21, 2022.




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                                                               7.

                    Upon arriving at Family Dollar #3290 store, Plaintiff began browsing through the store

             when she slid on clear liquid that had accumulated on the floor at one of the isles.

                                                               8.

                    Plaintiff had no actual or constructive knowledge of the dangerous condition on Family

             Dollar’s premises.

                                                               9.

                    At all relevant times, Defendant John/Jane Doe, an unidentified employee of Defendant

             Family Dollar, was acting within the scope of employment with or under the agency of Family

             Dollar on its premises.

                                                               10.

                    Defendant John/Jane Doe’s failure to adequately inspect and maintain Family Dollar’s

             premises on the aforesaid date was a direct and proximate cause of Plaintiff’s injuries.

                                                               11.

                    Before Plaintiff’s fall on September 21, 2019, Defendants knew or should have known of

             the dangerous condition presented to Plaintiff and others on the premises.

                                                               12.

                    As a result of Defendants’ negligence, Plaintiff has sustained serious bodily and

             emotional injuries.

                                                               13.

                    As a result of Defendants’ negligence, Plaintiff has incurred medical expenses in excess

             of $25,000, and will continue to incur medical expenses in the future.




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                                                               14.

                    Defendant Family Dollar has forced Plaintiff to file this lawsuit by denying Plaintiff is

             entitled to recover all of her damages and losses from the subject incident.

                                               COUNT I: NEGLIGENCE

                                                               15.

                    Plaintiff realleges and incorporates herein by reference Paragraphs 1 through 14 above as

             if they were fully restated verbatim herein.

                                                               16.

                    Defendants had a duty to provide safe premises for individuals like Plaintiff on the date in

             question pursuant to O.C.G.A. § 51-3-1.

                                                               17.

                    Defendants were negligent and breached their duties owed to Plaintiff.

                                                               18.

                    Defendants’ acts of negligence include, but are not limited to, the following:

                        a. Defendants unreasonably created a dangerous condition;

                        b. Defendants failed to properly inspect the area of the floor where Plaintiff’s fall

                            occurred;

                        c. Defendants failed to react timely to a dangerous condition;

                        d. Defendants failed to warn Plaintiff of a dangerous condition;

                        e. Defendants failed to use ordinary and reasonable care to prevent unsafe

                            conditions;

                        f. Defendants failed to take appropriate corrective or remedial action to prevent the

                            accumulation of liquid on the floor of its premises; and/or




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                        g. Was otherwise negligent at the time and place complained of.

                                                              19.

                    At all relevant times, Plaintiff exercised reasonable care for her own safety.

                                                              20.

                    As a direct and proximate result of the negligent acts by Defendants, Plaintiff suffered

             injuries and damages, including medical and other necessary expenses, mental and physical pain

             and suffering, and personal inconvenience. These bodily injuries are permanent, and in the

             future, Plaintiff will suffer medical and other necessary expenses, mental and physical pain and

             suffering, and personal inconvenience.

                                                              21.

                    By reason of the foregoing, Plaintiff is entitled to recover compensatory damages from

             Defendants in an amount to be proven at trial.

                                         COUNT II: VICARIOUS LIABILITY

                                                              22.

                    Plaintiff realleges and incorporates herein by reference Paragraphs 1 through 21 above as

             if they were fully restated verbatim herein.

                                                              23.

                    Defendant Family Dollar is liable for the negligent acts and omissions of its employees

             and/or agents, under the theory of Respondeat Superior.

                                                              24.

                    Defendant John/Jane Doe was acting within the scope of his/her employment and for the

             benefit of Defendant Family Dollar when his/her negligence caused Plaintiff’s injuries.




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                                                              25.

                    Defendant Family Dollar is liable for the negligent acts of Defendant John/Jane Doe.

                                                              26.

                    As a direct and proximate result of the negligent acts by Defendants, Plaintiff suffered

             injuries and damages, including medical and other necessary expenses, mental and physical pain

             and suffering, and personal inconvenience. These bodily injuries are permanent, and in the

             future, Plaintiff will suffer medical and other necessary expenses, mental and physical pain and

             suffering, and personal inconvenience.

                                                              27.

                    By reason of the foregoing, Plaintiff is entitled to recover compensatory damages from

             Defendants in an amount to be proven at trial.

                               COUNT III: NEGLIGENT TRAINING / SUPERVISION

                                                              28.

                    Plaintiff realleges and incorporates herein by reference Paragraphs 1 through 27 above as

             if they were fully restated verbatim herein.

                                                              29.

                    Family Dollar had, and/or through the exercise of reasonable care should have had, prior

             knowledge that John/Jane Doe would negligently create a dangerous or hazardous condition.

                                                              30.

                    Family Dollar failed to properly train and/or supervise John/Jane Doe.

                                                              31.

                    As a direct and proximate result of the negligent acts by Defendants, Plaintiff suffered

             injuries and damages, including medical and other necessary expenses, mental and physical pain




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             and suffering, and personal inconvenience. These bodily injuries are permanent, and in the

             future, Plaintiff will suffer medical and other necessary expenses, mental and physical pain and

             suffering, and personal inconvenience.

                                                               32.

                    By reason of the foregoing, Plaintiff is entitled to recover compensatory damages from

             Defendants in an amount to be proven at trial.

                         COUNT IV: ATTORNEY’S FEES AND LITIGATION EXPENSES

                                                               33.

                    Plaintiff realleges and incorporates herein by reference Paragraphs 1 through 32 above as

             if they were fully restated verbatim herein.

                                                               34.

                    Family Dollar’s actions were in bad faith, stubbornly litigious and/or caused Plaintiff

             unnecessary trouble and expense.

                                                               35.

                    Family Dollar has forced Plaintiff to file this lawsuit by denying Plaintiff is entitled to

             recover all or part of her damages and losses from the subject incident.

                                                               36.

                    Plaintiff is, therefore, entitled to recover her reasonable expenses of litigation, including

             but not limited to, reasonable attorney’s fees, pursuant to O.C.G.A. § 13-6-11.

                                                 PRAYER FOR RELIEF

                    WHEREFORE, Plaintiff prays for the following:

                        a. That Summons and Process issue, as provided for by law, requiring Defendants to

                            appear and answer Plaintiff’s Complaint;




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                        b. That service be had upon Defendants as provided by law;

                        c. That the Court award and enter a judgment in favor of Plaintiff and against

                           Defendants for compensatory damages greater than $25,000 in an amount to be

                           proven at trial;

                        d. That Plaintiff recover for mental and physical pain and suffering and emotional

                           distress in an amount to be determined by the enlightened conscience of the jury;

                        e. That Plaintiff have a trial by a jury of twelve (12) as to all issues;

                        f. That Plaintiff have all costs and expenses of litigation, including attorney’s fees;

                           and

                        g. That Plaintiff have such other and further relief as the Court may deem just and

                           proper.

                    This 27th day of December, 2021.

                                                                   INFINITY TRIAL GROUP, P.C.



                                                                   Min J. Koo
                                                                   Georgia Bar No. 140984
                                                                   Attorney for Plaintiff



             One Atlantic Center
             1201 W. Peachtree St., Suite 2300                      STATE COURT OF
             Atlanta, Georgia 30309                                 DEKALB COUNTY, GA.
             T: (404) 795-5011 / F: (404) 393-9267                  12/27/2021 5:43 PM
                                                                    E-FILED
             E: Min@InfinityTrial.com                               BY: Michelle Cheek




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                                   General Civil and Domestic Relations Case Filing Information Form
                                                                          Fulton
                                        ☐ Superior or ☐ State Court of ______________________________ County

              For Clerk Use Only
                                                  12/28/2021                                                    21A05843
              Date Filed _________________________                                Case Number _________________________
                              MM-DD-YYYY

      Plaintiff(s)                                                                   Defendant(s)
      __________________________________________________
      Bellard      Lizette                                                           __________________________________________________
                                                                                     Family Dollar Stores of Georgia, LLC
      Last              First                  Middle I.     Suffix     Prefix         Last                  First         Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
                                                                                     Doe          John/Jane
      Last              First                  Middle I.     Suffix     Prefix         Last                  First         Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First         Middle I.   Suffix   Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First         Middle I.   Suffix   Prefix

                           Min J. Koo
      Plaintiff’s Attorney ________________________________________                   140984
                                                                    State Bar Number __________________ Self-Represented ☐

                                Check one case type and one sub-type in the same box (if a sub-type applies):

              General Civil Cases
                                                                                              Domestic Relations Cases
              ☐           Automobile Tort
              ☐           Civil Appeal                                                        ☐            Adoption
              ☐           Contempt/Modification/Other                                         ☐            Contempt
                          Post-Judgment                                                                    ☐ Non-payment of child support,
              ☐           Contract                                                                         medical support, or alimony
              ☐           Garnishment                                                         ☐            Dissolution/Divorce/Separate
              x
              ☐           General Tort                                                                     Maintenance/Alimony
              ☐           Habeas Corpus                                                       ☐            Family Violence Petition
              ☐           Injunction/Mandamus/Other Writ                                      ☐            Modification
              ☐           Landlord/Tenant                                                                  ☐ Custody/Parenting Time/Visitation
              ☐           Medical Malpractice Tort                                            ☐            Paternity/Legitimation
              ☐           Product Liability Tort                                              ☐            Support – IV-D
              ☐           Real Property                                                       ☐            Support – Private (non-IV-D)
              ☐           Restraining Petition                                                ☐            Other Domestic Relations
              ☐           Other General Civil

      ☐       Check if the action is related to another action pending or previously pending in this court involving some or all of
              the same: parties, subject matter, or factual issues. If so, provide a case number for each.
              ____________________________________________            ____________________________________________
                           Case Number                                              Case Number

      x
      ☐       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
              redaction of personal or confidential information in OCGA § 9-11-7.1.

      ☐       Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

               ________________________________ Language(s) Required

      ☐       Do you or your client need any disability accommodations? If so, please describe the accommodation request.


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                    Case 1:22-cv-00418-WMR Document 1-1 Filed 02/02/22 Page 11 of 13

                     21A05843
                No. ___________________________                          STATE COURT OF DEKALB COUNTY
                                                                                  GEORGIA, DEKALB COUNTY
                Date Summons Issued and E-Filed

                 12/28/2021                                                                    SUMMONS
                ______________________________
                  /s/ Monique Roberts
                ______________________________
                Deputy Clerk

                Deposit Paid $ __________________
                                                                           Lizette Bellard
                                                                           _____________________________________

                                                                            c/o Min J. Koo, Esq.
                                                                           ______________________________________
                                                                           Plaintiff's name and address

                                                                            vs.
                [X] JURY
                                                                           Family Dollar Stores of Georgia, LLC
                                                                           ______________________________________

                                                                           2 Sun Ct., Ste. 400, Peachtree Corners, GA 30092
                                                                           ______________________________________
                                                                           Defendant's name and address

                TO THE ABOVE-NAMED DEFENDANT:

                You are hereby summoned and required to file with the Clerk of State Court, Suite 230, 2 nd Floor,
                Administrative Tower, DeKalb County Courthouse, 556 N. McDonough Street, Decatur, Georgia
                30030 and serve upon the plaintiff's attorney, to wit:
                _______________________________________________________________
                Name
                         Min J. Koo, Esq.
                _______________________________________________________________
                Address
                         1201 W. Peachtree St., Suite 2300, Atlanta, GA 30309
                _______________________________________________________________
                Phone Number                                                  Georgia Bar No. 140984
                                     404.795.5011
                an ANSWER to the complaint which is herewith served upon you, within thirty (30) days after
                service upon you, exclusive of the day of service. If you fail to do so, judgment by default will be
                taken against you for the relief demanded in the complaint. The answer or other responsive
                pleading can be filed via electronic filing through eFileGA via www.eFileGA.com or, if desired, at the e-filing public
                access terminal in the Clerk’s Office at 556 N. McDonough Street, Decatur, Georgia 30030

                __________________________________________                           ________________________________
                Defendant's Attorney                                                 Third Party Attorney
                __________________________________________                           ________________________________
                Address                                                              Address
                __________________________________________                           ________________________________
                Phone No.                 Georgia Bar No.                            Phone No.          Georgia Bar No.

                                                                  TYPE OF SUIT
                 Personal Injury  Products Liability                                           TBD (Above $25,000+)
                                                                                     Principal $ _____________________
                 Contract  Medical Malpractice
                 Legal Malpractice  Product Liability                              Interest $    _____________________
                Other
                                                                                     TBD
                                                                         Atty Fees $ _____________________
                Access to the e-filing site and the rules is available at www.dekalbstatecourt.net
                To indicate consent to e-service check the box below.
                (Plaintiff consents to e-service pursuant to OCGA 9-11-5 (f). The email address for
                service appears in the complaint.

                                                                                                         E-file summons1-2016
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                                                                                                                                         DEKALB COUNTY, GA.
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                    Case 1:22-cv-00418-WMR Document 1-1 Filed 02/02/22 Page 12 of 13

                     21A05843
                No. ___________________________                          STATE COURT OF DEKALB COUNTY
                                                                                  GEORGIA, DEKALB COUNTY
                Date Summons Issued and E-Filed

                 12/28/2021                                                                    SUMMONS
                ______________________________
                  /s/ Monique Roberts
                ______________________________
                Deputy Clerk

                Deposit Paid $ __________________
                                                                           Lizette Bellard
                                                                           _____________________________________

                                                                            c/o Min J. Koo, Esq.
                                                                           ______________________________________
                                                                           Plaintiff's name and address

                                                                            vs.
                [X] JURY
                                                                           Family Dollar Stores of Georgia, LLC
                                                                           ______________________________________

                                                                           2 Sun Ct., Ste. 400, Peachtree Corners, GA 30092
                                                                           ______________________________________
                                                                           Defendant's name and address

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                Administrative Tower, DeKalb County Courthouse, 556 N. McDonough Street, Decatur, Georgia
                30030 and serve upon the plaintiff's attorney, to wit:
                _______________________________________________________________
                Name
                         Min J. Koo, Esq.
                _______________________________________________________________
                Address
                         1201 W. Peachtree St., Suite 2300, Atlanta, GA 30309
                _______________________________________________________________
                Phone Number                                                  Georgia Bar No. 140984
                                     404.795.5011
                an ANSWER to the complaint which is herewith served upon you, within thirty (30) days after
                service upon you, exclusive of the day of service. If you fail to do so, judgment by default will be
                taken against you for the relief demanded in the complaint. The answer or other responsive
                pleading can be filed via electronic filing through eFileGA via www.eFileGA.com or, if desired, at the e-filing public
                access terminal in the Clerk’s Office at 556 N. McDonough Street, Decatur, Georgia 30030

                __________________________________________                           ________________________________
                Defendant's Attorney                                                 Third Party Attorney
                __________________________________________                           ________________________________
                Address                                                              Address
                __________________________________________                           ________________________________
                Phone No.                 Georgia Bar No.                            Phone No.          Georgia Bar No.

                                                                  TYPE OF SUIT
                 Personal Injury  Products Liability                                           TBD (Above $25,000+)
                                                                                     Principal $ _____________________
                 Contract  Medical Malpractice
                 Legal Malpractice  Product Liability                              Interest $    _____________________
                Other
                                                                                     TBD
                                                                         Atty Fees $ _____________________
                Access to the e-filing site and the rules is available at www.dekalbstatecourt.net
                To indicate consent to e-service check the box below.
                (Plaintiff consents to e-service pursuant to OCGA 9-11-5 (f). The email address for
                service appears in the complaint.

                                                                                                         E-file summons1-2016
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              Date Filed 12/27/21                                                                                                                                                                                                                Georgia,                                                                                        COUNTY

                                                                                                                                                                                                                                                 Lizette Bellard
              Attorney’s Address

                  Min   J.    Koo, Esq.                                                                                                                                                                                                                                                                                                               Plaintiff

               1201 W. Peachtree St. Suite 2300                                                                                                                                                                                                                            VS.

               Atlanta, GA 30309
                                                                                                                                                                                                                                                 Family Dollar Stores of Georgia, LLC
              Name and Address of Party to Served

              Family Dollar Stores of Georgia, LLC                                                                                                                                                                                                                                                                                                    Defendant
                                                                          A                               l                                            t   “            -
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                                                                                                                                                                                                                                                                                                                              v    .                                    .




              (c/o Corporation Service)2 Sun CL, Sté. 400

              Peachtree Corners, GA 30092
                                                                                                                                                                                                                                                                                                                                                      Garnishee
                                                                                                                                                   SHERIFF’S ENTRY OF SERVICE
              PERSONAL
          I have this day served the defendant                                                                                                                                                                                                                                                                                    personally with a copy
El        of the within action and summons.

              NOTORIOUS
              I have this day served the defendant                                                                                                                                                                                                                                                                                                    by leaving a
              copy of the action and summons at his most notorious place abode in this County.                                                                                                                                                                                                                                                                                       -




Di        Delivered same into hands of                                                                                                                                                                                                                                                                             described as follows:
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          defendant.


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          by leaving a copy of the within action and summo
          In charge of the ofﬁce and place of doing business of said Corporation in this County.
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          TACK & MAIL                                                                                                                                                                                                                                                                                                                                                                       .
          I have this day served the above styled afﬁdavit and summons on the defendant(s) by posting a copy of the same to the door of the premises
          designated in said afﬁdavit and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in an
Cl        envelope properly addressed to the defendant(s) at the address shown in said summons, with adequate postage afﬁxed thereon containing notice
          to the defendant(s) to answer said summons at the place stated in the summons.


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          Diligent search made and defendant
[j        not to be found in the jurisdiction of this Court.

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